                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

SAFETY AND ECOLOGY                            )
CORPORATION,                                  )
                                              )
       Plaintiff,                             )
                                              )       Docket No. 1:07-CV-257
v.                                            )
                                              )       Collier/Carter
CHUBB & SON, INC.,                            )
                                              )
       Defendant.                             )

                                STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and upon agreement of

the parties that this cause be dismissed with prejudice, it is hereby

       ORDERED, ADJUDGED AND DECREED that all claims in the above styled matter are

dismissed with prejudice. Each Party shall be responsible for their own costs.

       Dated this ___ day of                          , 2008.


                                              _/s/________________________________________
                                              U.S. DISTRICT COURT JUDGE
                                              CURTIS COLLIER




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